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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

  KENT WILLIAMS,                                        Case No. 1:20-cv-00008-REB


                        Plaintiff,                     ORDER APPOINTING LIMITED
                                                       PURPOSE COUNSEL
          v.

  ASSOCIATE WARDEN MCKAY, et al.,

                        Defendant.



       The Pro Bono Coordinator has been notified by the Pro Bono Liaison that Craig H.

Durham has agreed to serve as pro bono counsel, for a limited purpose, for Plaintiff Kent

Williams. Therefore, IT IS ORDERED that Craig H. Durham be appointed as limited purpose

counsel for Kent Williams in this matter, and the Clerk of Court shall designate him as such,

with both Mr. Durham and Plaintiff receiving ECF docket entries, unless otherwise directed by

Mr. Durham.

       Plaintiff shall not contact counsel but shall wait to be contacted by counsel.

       Counsel is notified that he may utilize the benefits offered through the

Idaho State Bar Volunteer Lawyers’ Program.

       The Federal Court’s Pro Bono Program cost reimbursement fund is also available

to counsel. Because the Court has not previously authorized any amounts from the fund to be

paid in this case, there is $1,500 remaining for costs on this case. If additional costs appear

necessary, counsel may submit an ex parte motion to apply for additional funds. See Pro

Bono Program, District of Idaho, available at www.id.uscourts.gov.

       Plaintiff needs assistance from counsel regarding issues of Plaintiff’s conditions of

confinement and access to courts as raised in his Emergency Motion for Temporary Restraining

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Order (Dkt. 29), as discussed during the hearing on such topics held October 5, 2020 (Dkt. 42),

and as detailed in certain related subsequent filings. This appointment does not apply to the

underlying claims raised in Plaintiff’s Prisoner Complaint (Dkt. 2) or to the claims Plaintiff

wishes to raise by way of his Motion to Amend Complaint (Dkt. 18). Mr. Durham and Plaintiff

shall decide how counsel for Defendants should communicate with them (e.g., only to Mr.

Durham or to both Mr. Durham and Plaintiff) and notify counsel for Defendants of that decision.

       Plaintiff and Mr. Durham may choose to enter into a contract for limited or full

representation in this case that provides payment for attorney fees to Mr. Durham on a

contingency or other basis, but that is not part of this Order. However, if Plaintiff recovers costs

from Defendants, then Plaintiff has an obligation to reimburse the Pro Bono Program

reimbursement fund.

       If Mr. Durham has served his limited purpose (to be determined in his sole discretion)

and the case has not yet concluded, Mr. Durham may submit a motion for withdrawal of counsel

to the Court.

       SO ORDERED.



                                       DATED: February 11, 2021.




                                       _____________________________
                                       Honorable Ronald E. Bush
                                       U. S. Magistrate Judge




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